            CASE 0:19-cr-00313-ECT-TNL Doc. 22 Filed 10/13/21 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
______________________________________________________________________________

United States of America,                                   Court File No. 19-cr-313 (ect/tnl)

                 Plaintiff,

v.                                                          MOTION TO WITHDRAW
                                                            AS COUNSEL.
Santos Gomez Perez,

            Defendant.
______________________________________________________________________________

          PLEASE TAKE NOTICE that Attorney Kirk M. Anderson, having previously file a

Notice of Appearance in this matter on behalf of Defendant Santos Gomez Perez (“Defendant”),

hereby motions this Court for an Order allowing him to withdraw as Defendant’s counsel in this

matter.

          Said motion is based upon the Affidavit of Kirk M. Anderson, filed simultaneously with

this Court.


Dated: October 13, 2021                      Anderson Law Firm, PLLC


                                             _____/s/ Kirk M. Anderson______________
                                             Kirk M. Anderson (MN-338175)
                                             5775 Wayzata Blvd., Suite 700
                                             Minneapolis, MN 55416
                                             (952_ 582-2904
